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                                                      May 10, 2018                                       W 11
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The Honorable Rebecca Beach Smith, Chief Judge
United States District Court                                                                MAY 1 1 2018
Eastern District of Virginia
600 Granby Street                                                                        R.B..SMIIH.CHIEFJUDOE
Norfolk, VA 23507                                                                    u   nisrniCT court, nof^kolk. va
Hand Delivered


        Re:    R.M.S. Titanic, Inc. (etc.) v. The Wrecked and Abandoned Vessel (etc.)
               Civil Action No. 2:93cv902

Dear Chief Judge Smith:

       This letter responds to Mr. McFarland's May 8,2018 request on behalf RMST that the
United States produce and disclose to RMST and the Court, without limitation, "all written
communications between NOAAand the U.S. Department of Justice and Ocean Gate [j/c] and
its counsel." The United States respectfully declines to produce the requested material in this
litigation.

        NOAA is not a party to this admiralty action, but is involved to represent the public
interest in the wreck site and the artifacts and, to that end, to review RMST's actions as salvor
and to ensure RMST's compliance with the Court's orders, including the Covenants and
Conditions. See R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel, 742 F.Supp. 2d 784,
793 (E.D. Va. 2010); R.M.S. Titanic, Inc. v. The Wrecked and Abandoned Vessel, 531 F.Supp. 2d
691, 693 (E.D. Va. 2007); see also Covenants & Conditions,§ ILK. While NOAA's interest in
the preservation and protection of Titanic and its artifacts closely aligns with the Court's oft-
stated concerns, NOAA's communicationswith OceanGate occurred, not in its oversight role in
this litigation, but in the contextof NOAA's (and the Department of Commerce's) independent
obligation to implement Section 113 of the Consolidated Appropriations Act, 2017 (and by
extension, the provisions contained in the Annex to the International Agreement). NOAA's
submission to the Court in this instance was to address a specific, and narrow, concem of the
Court, namely, to ensure that OceanGate was aware of RMST's salvor status and the Court's
constructive in rem jurisdiction. RMST's current request effectively asks that it be given
continuing access to all NOAAand Department of Justice communications occurring within the
Section 113 process. We believe that is an inappropriate precedent to establish.

        As we stated previously, NOAA expects to advise the Court of any significant
developments pertaining to OceanGate's planned expedition, but we do not believethere is a
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basis inthis litigation for RMST to compel the production ofNOAA orDepartment ofJustice
records. Amore appropriate avenue for seeking federal agency records is through the Freedom
of Information Act process (which RMST has previously utilized).

                                           Very truly yours,

                                           TRACY DOHERTY-McCORMICK
                                           UNITED STATES ATTORNEY



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cc;   Robert McFarland, Esq. (via email)
      Brian Wainger, Esq. (via email)
